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                         IN THE LINITED STATES DISTRICT COURT                               l0tl     APR   28 Plt 3: 5L
                              FOR THE DISTRICT OF NEW MEXICO                                  CLERT{-LAS CRUCES



 I.INITED STATES OF AMERICA,

                Plaintiff,                                  CRIMINAL NO.           a7-               101
        VS.


 SEAN PATRICK FOSLER,

                Defendant.



                                        PLEA AGREEMENT

       Pursuant to Federal Rule of Criminal Procedure       1   1, the parties hereby   notify the Court of

the following agreement between the United States Attomey for the District of New Mexico, the

defendant, SEAN     PATRICK FOSLER,           and the defendant's counsel,   DANIEL RUBIN:

                                REPRESENTATION BY COTINSEL

       l.      The defendant understands the defendant's right to be represented by an attorney

and is so represented. The defendant has thoroughly reviewed all aspects of this case with the

defendant's attorney and is   fully satisfied with that attorney's legal representation.

                                  RIGHTS OF THE DEFENDANT

       2.      The defendant further understands the following rights:

               a.      to be charged and prosecuted by indictment;

              b.       to plead not guilty;

               c.      to have a trial by jury;

               d.      to confront and cross-examine witnesses and to call witnesses to testify for
                       the defense; and

               e.      against compelled self-incrimination.
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                       WAIVER OF RIGHTS AND PLEA OF GUILTY

       3.     The defendant hereby agrees to waive these rights and to plead guilty to the

Information charging a violation of l8 U.S.C. $$ 2251(a),2256(2)(,{): Production of a Visual

Depiction of a Minor Engaging in Sexually Explicit Conduct.

                               ELEMENTS OF THE OFFENSE

       4.     The elements   of   18 U.S.C. $$ 2251(a),2256(2)(A),Production           of a Visual
Depiction of a Minor Engaging in Sexually Explicit Conduct, are:

              a.     the defendant employed, used, persuaded, induced, enticed or coerced the
                     victim to take part in sexually explicit conduct for the purpose of producing
                     a visual depiction of such conduct;


              b.     at the time, the victim was a minor (under 18 years old); and

              c.     the visual depiction was produced using materials that had been mailed,
                     shipped, or transported across state lines or in foreign commerce by any
                     means, including by computer, or has actually been transported or
                     transmitted using any means or facility of interstate or foreign commerce.



                                        SENTENCTNG

       5.     The defendant understands that the minimum and maximum penalty the Court can

impose is:

                     imprisonment for a period of not less than l5 years and not more than 30
                     years, but, pursuant to 18 U.S.C. $ 2251(e), if the Defendant has a prior
                     conviction under Chapter 110, l8 U.S.C. $ 1591, Chapter 71, Chapter
                      I 09A, or Chapter ll7 , or under section 920 of title I 0 (article 120 of the
                     Uniform Code of Military Justice), or under the laws of any State relating
                     to aggravated sexual abuse, sexual abuse, or abusive sexual conduct
                     involving a minor or ward, or sex trafficking of children, or the
                     production, possession, receipt, mailing, sale, distribution, shipment, or
                     transportation of child pornography, or sex trafficking of children, the
                     minimum and maximum penalty is imprisonment for a period of not less
                     than 25 years and not more than 50 years, but if the Defendant has two or
                     more such priors, then the minimum and maximum penalty is
                     imprisonment for a period of not less than 35 years and not more than
                     lifetime imprisonment;
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               b.     a fine not to exceed $250,000.00 or twice the pecuniary gain to the
                      Defendant or pecuniary loss to the victim;

                      a mandatory   term of supervised release of not less than 5 years and not
                      more than life. (If the defendant serves a term of imprisonment, is then
                      released on supervised release, and violates the conditions ofsupervised
                      release, the defendant's supervised release could be revoked--even on the
                      last day of the term--and the defendant could then be returned to another
                      period of incarceration and a new term of supervised release);

               d.     a mandatory special penalty assessment    of $100.00;

               e.     an assessment of $5,000, per count, pursuant   to   18 U.S.C. $ 3014;

               f.     an assessment, pursuant to 18 U.S.C. S 2259A, per count, of no more than:

                      i.      S17,000.00 if convicted of l8 U.S.C. $$ 2252(a)(4) or
                              22s2A(a)(s);
                      ii.     $35,000.00 if convicted of an offense for trafficking in child
                              pornography as defined by $ 2259(c)(3), which includes offenses
                              under 18 U.S.C. $$ 225t(d),2252(a)(l) through (3), S z2sZA(aXl)
                              through (4), 5 2252A(g) (in cases in which the series of felony
                              violations exclusively involves violations of $$ 2251(d),2252,
                              22s2A(a)(t) through (5), or $ 2260(b), or $ 2260(b);
                      iii.    $50,000.00 if convicted of a child pornography production offense
                              as defined by l8 U.S.C. $ 2259(c)(1), which includes offenses
                              under 18 U.S.C. $S 2251(a) through (c), $ 2251A, $ 2252A(g) (in
                              cases in which the series of felony violations involves at least I of
                              the violations listed in this subsection) , $ 2260(a) or any offense
                              under chapter 109A or chapter 1 17 that involved the production of
                              child pornography (as such term is defined in $ 2256);

               o
               b.     mandatory restitution pursuant to 18 U.S.C. 5 2259.

        6.     The parties recognize that the Sentencing Guidelines are advisory, and that the

Court is required to consider them in determining the sentence it imposes.

        7.     The parties agree that, as part of the defendant's sentence, the Court may enter an

order of restitution pursuant to 18 U.S.C.5 2259.

        8.     It is expressly understood and agreed by and between the defendant and the United

States that:
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                 a.     The United States has made, and will make, NO AGREEMENT pursuant

to Federal Rule of Criminal Procedure 11(c)(1)(C), that a specific sentence is the appropriate

disposition of this case.

                 b.     The United States has made, andwill make, NO AGREEMENT to approve,

to oppose, or not to oppose pursuant to Federal Rule of Criminal Procedure l1(c)(1)(B),          any

request made by the defendant or on behalf of the defendant for a particular sentence in this case,

other than the stipulations agreed to below.

                 c.     The United States hereby expressly reserves the right to make known to the

United States Probation Office and to the Court, for inclusion in the presentence report prepared

pursuant to Federal Rule of Criminal Procedure32,any information that the United States believes

may be helpful to the Court, including but not limited to information about any relevant conduct

under USSG $ 1B1.3.

                 d.     Except under circumstances where the Court, acting on its own, fails to

accept this plea agreement, the defendant agrees that, upon the defendant's signing of this plea

agreement, the facts that the defendant has admitted under this plea agreement as set forth below,

as   well as any facts to which the defendant admits in open court at the defendant's plea hearing,

shall be admissible against the defendant under Federal Rule of Evidence 801(dX2XA) in any

subsequent proceeding, including      a criminal trial, and the defendant expressly waives        the

defendant's rights under Federal Rule of Criminal Procedure 11(f) and Federal Rule of Evidence

410 with regard to the facts the defendant admits in conjunction with this plea agreement. The

Court has not acted on its own    if its rejection of the plea agreement occurs   after Defendant has

expressly or implicitly suggested to the Court a desire or willingness to withdraw his or her plea

or not to be bound by the terms of this plea agreement.
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                             DEFENDANT'S ADMISSION OF FACTS

        9.       By my signature on this plea agreement, I am acknowledging that I am pleading

guilty because I am, in fact, guilty of the offense(s) to which I am pleading guilty. I recognize and

accept responsibility for my criminal      condlct. Moreover, in pleading guilty, I acknowledge that

if I chose to go to trial instead of   entering this plea, the United States could prove facts sufficient

to establish my guilt of the offense(s) to which I am pleading guilty beyond a reasonable doubt,

including any facts alleged in the Information that increase the statutory minimum or maximum

penalties. I specifically admit the following facts related to the charges against me, and declare

under penalty of perjury that all of these facts are true and correct:

        On or about lNlay 7,2021, in the District of New Mexico, I Sean Patrick Fosler,
        took a video of a then eight-year-old-minor, who is referred to as Vl in the
        criminal complaint, engaged in sexually explicit conduct, as defined by 18
        U.S.C. $2256. Specifically, the video depicts Vl in a room removing her pants
        and underwear. Vl, on multiple occasions, sits near the camera and bends
        over at the waist. Vl's genitals can be seen in the video. I am also in the video
        masturbating my erect penis. I used my cell phone, which is manufactured
        outside the United States to take the video and I also Iater sent the video to
        another individual in Texas over snapchat.

        10.      By signing this agreement, the defendant admits that there is a factual basis for each

element of the crime(s) to which the defendant        will   plead   guilty. The defendant   agrees that the

Court may rely on any of these facts, as well as facts in the presentence report, to determine the

defendant's sentence, including, but not limited to, the advisory guideline offense level.

                                             STIPULATIONS

        I   l.   The United States and the defendant stipulate as follows:

                 a.     Pursuant to USSG $ 3E1.1(a), the defendant has clearly demonstrated a

recognition and affirmative acceptance of personal responsibility for the defendant's criminal

conduct. Consequently, so long as the defendant continues to accept responsibility for                  the
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defendant's criminal conduct, the defendant is entitled to a reduction of two levels from the base

offense level as calculated under the sentencing guidelines. This reduction is contingent upon the

defendant providing an appropriate oral or written statement to the United States probation officer

who prepares the presentence report in this case in which the defendant clearly establishes the

defendant's entitlement to this reduction.

                 b.     Apart from the provisions in this plea agreement, the United States and the

Defendant reserve their rights to assert any position or argument with respect to the sentence to be

imposed, including but not limited to the applicability of particular sentencing guidelines and

adjustments under the guidelines.

        12.      The defendant understands that the above stipulations are not binding on the Court

and that whether the Court accepts these stipulations is a matter solely within the discretion of the

Court after it has reviewed the presentence report. Further, the defendant understands that the

Court may choose to vary from the advisory guideline sentence. The defendant understands that

if the Court   does not accept any one or more of the above stipulations and reaches an advisory

guideline sentence different than expected by the defendant, or       if   the Court varies from the

advisory guideline range, the defendant will not seek to withdraw the defendant's plea of guilty.

In other words, regardless of any stipulations the parties may enter into, the defendant's final

sentence is solely within the discretion of the Court.

                                             RESTITUTION

        13.      The defendant understands that restitution is this case is mandatory, pursuant to 18

U.S.C. 5 2259. The defendant understands that an unanticipated amount of a restitution order will

not serve as grounds to withdraw the defendant's guilty plea. The defendant further agrees to

comply with any restitution order entered into at the time of sentencing. The defendant further
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agrees that the defendant    will not   seek the discharge of any restitution obligation, in whole or in

part, in any present or future bankruptcy proceeding. The defendant agrees to make full restitution

for the provable losses caused by the defendant's activities. The defendant further agrees to grant

the United States a wage assignment, liquidate assets, or complete any other tasks which         will result

in immediate payment in full, or payment in the shortest time in which full payment can be

reasonably made as required under 18 U.S.C. $ 3572(d).

        14.     The defendant further agrees to make full and accurate disclosure of his financial

affairs to the United States. Specifically, the defendant agrees that, before sentencing, the

defendant shall provide to the United States, under penalty of perjury, a financial statement which

shall identify all assets owned or held directly or indirectly by the defendant. The defendant shall

also identify all assets valued at more than $5,000 which have been transferred to third parties

since May 7 ,2027, including the location of the assets and the identity of any third parry.

        15.     The parties   will jointly recommend that as a condition of probation or supervised

release, the defendant   will notiff   the Financial Litigation Unit, United States Attorney's Office,   of

any interest in property obtained, directly or indirectly, including any interest obtained under any

other name, or entity, including a trust, partnership or corporation after the execution of this

agreement until the fine or restitution is paid in      full. See 18 U.S.C.   $ 3664(k), (n).

        16.     The parties    will    also   jointly recommend that as a condition of probation or

supervised release, the defendant      will notify   the Financial Litigation Unit, United States Attomey's

Office, before the defendant transfers any interest in property owned directly or indirectly by the

defendant, including any interest held or owned under any other name or entity, including trusts,

partnership anilor corporations. See 18 U.S.C. $ 3664(k), (n).
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         17.       The defendant further agrees that whatever monetary penalties are imposed by the

Court   will   be due immediately and   will   be subject to immediate enforcement by the United States

as provided     for in l8 U.S.C. $ 3613. If the Court imposes a schedule of payments, the defendant

understands that the schedule ofpayments is merely a minimum schedule of payments and not the

only method, nor a limitation on the methods, available to the United States to enforce the

judgment.      If the defendant is incarcerated,   the defendant agrees to participate in the Bureau of

Prisons' Inmate Financial Responsibility Program, regardless of whether the Court specifically

directs participation or imposes a schedule of payments.

                                                FORFEITURE

         18.       The Defendant agrees to forfeit, and hereby forfeits, whatever interest                  the

Defendant may have in any asset derived from or used in the commission of the offense(s) in this

case. The Defendant agrees to cooperate        fully in helping the United   States (a) to locate and   identify

any such assets and (b) to the extent possible, to obtain possession and/or ownership of all or part

of any such assets. The Defendant further agrees to cooperate fully in helping the United States

locate, identif,r, and obtain possession and/or ownership of any other assets about which the

Defendant may have knowledge that were derived from or used in the commission of offenses

committed by other persons.

         19.      The Defendant voluntarily and immediately agrees to forfeit to the United States

all of the Defendant's right, title, and interest in the following assets and properties:

                      a.   Black iPhone 11     AZlll
                      b.   Black PC Tower SA{ 6252EFED3E3AF0932

                      c.   Black Google Pixel XL2 Cell Phone

                      d.   Gray Dell Laptop P69G
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       20.     The Defendant agrees to fully assist the United States in the forfeiture of the

above-described property and to take whatever steps are necessary to pass clear title to the

United States, including but not limited to execution of any documents necessary to transfer the

Defendant's interest in the above-described property to the United States.

       21.     The Defendant agrees to waive the right to notice of any forfeiture proceeding

involving the above-described property.

       22.     The Defendant knowingly and voluntarily waives the right to a jury trial on the

forfeiture of the above-described property. The Defendant knowingly and voluntarily waives all

constitutional, legal, and equitable defenses to the forfeiture of said property in any proceeding.

The Defendant agrees to waive any jeopardy defense or claim of double jeopardy, whether

constitutional or statutory, and agrees to waive any claim or defense under the Eighth

Amendment to the United States Constitution, including any claim of excessive frne, to the

forfeiture of said property by the United States or any State or its subdivisions.

                                 DEFENDANT'S OBLIGATIONS

       23.     The defendant understands the defendant's obligation to provide the United States

Probation Office with truthful, accurate, and complete information, including, but not limited to

defendant's true identity, citizenship status, and any prior criminal convictions. The defendant

hereby represents that the defendant has complied with and       will continue to comply with this

obligation. The defendant understands that any misrepresentation with respect to the above

obligations may be considered a breach of this plea agreement.

       24.     The Defendant agrees that any financial records and information provided by the

Defendant to the Probation Office, before or after sentencing, may be disclosed to the United States

Attorney's Office for use in the collection of any unpaid financial obligation.
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       25.     By signing this plea agreement, the defendant waives the right to withdraw the

defendant's plea of guilty pursuant to Federal Rule of Criminal Procedure            1I   (d) unless:   (   1   ) the

court rejects the plea agreement pursuant to Federal Rule of Criminal Procedure I 1(c)(5) or (2) the

defendant can show    a   fair and just reason as those terms are used in Rule 1 1(dX2XB) for requesting

the withdrawal. Furthermore, defendant understands that          if   the court rejects the plea agreement,

whether or not defendant withdraws the guilty plea, the United States is relieved of any obligation

it had under the agreement and defendant shall be subject to prosecution for any federal, state, or

local crime(s) which this agreement otherwise anticipated would be dismissed or not prosecuted.

       26.     By signing this plea agreement, the Defendant knowingly and voluntarily waives

any rights and defenses the Defendant may have under the Excessive Fines Clause of the Eighth

Amendment to the United States Constitution to imposition of special or other assessments.

                     SEX OFFENDER REGISTRATION AND NOTIFICATION

       27.     The defendant understands that by pleading guilty, the defendant will be required

to register as a sex offenderupon the defendant's release from prison as a condition ofsupervised

release pursuant   to 18 U.S.C. $ 3583(d). The defendant also understands that               independent          of

supervised release, the defendant      will be subject to federal and state sex offender registration

requirements, and that those requirements may apply throughout the defendant's                     life.        The

defendant understands that the defendant shall keep the defendant's registration current, shall

notify the state sex offender registration agency or agencies of any changes to the defendant's

name, place of residence, employment, or student status, or other relevant information within three

business days after such change. The defendant shall comply with requirements to periodically

verify in person the defendant's sex offender registration information. The defendant understands

that the defendant   will be subject to possible federal   and state penalties for failure to comply with




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any such sex offender registration requirements. The defendant further understands that, under 18

U.S.C. $ 4042(c), notice will be provided to certain law enforcement agencies upon the defendant's

release from confi nement following conviction.

       28.     As a condition of supervised release, the defendant shall initially register with the

state sex offender registration in New Mexico, and shall also register with the state sex offender

registration agency in any state where the defendant resides, is employed, works, or is a student,

as directed by the Probation   Officer. The defendant shall comply with all requirements of federal

and state sex offender registration laws, including the requirements to update the defendant's

registration infbrmation. The defendant shall provide proof of registration to the Probation Officer

within 72 hours of release from imprisonment.

       29.     The defendant has been advised, and understands, that failure to comply with these

obligations subjects him to prosecution for failure to register under federal law, l8 U.S.C. 5 2250,

which is punishable by a fine or imprisonment, or both.

                                  WAIVER OF APPEAL RIGHTS

       30.     The defendant is aware that 28 U.S.C. $ 1291 and 18 U.S.C. $ 3742 afford           a


defendant the right to appeal a conviction and the sentence imposed. Acknowledging that, the

defendant knowingly waives the right to appeal the defendant's conviction and any sentence,

including any fine, at or under the maximum statutory penalty authorized by law, as well as any

order of restitution entered by the Court. The Defendant also waives the right to appeal the denial

of any motion filed under 18 U.S.C. $ 3582(cX1)(A) where such denial rests in any part upon the

court's determination that "extraordinary and compelling reasons" for a sentence reduction are

lacking or that a sentence reduction is not warranted under the factors set forth in 18 U.S.C.    $


3553(a). In addition, the defendant agrees to waive any collateral attack to the defendant's


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conviction and any sentence, including    an5r   fine, pursuant to 28 U.S.C. $$ 2241 ,2255, or any other

extraordinary writ, except on the issue of counsel's ineffective assistance.

                                 GOVERNMENT'S AGREEMENT

          31.    Provided that the defendant fulfills the defendant's obligations as set out above, the

United States agrees not to bring additional criminal charges against the defendant arising out of

the facts forming the basis of the present Information. Specifically, the United States agrees not

charge additional counts of production of child pornography, in violation        of   18 U.S.C. $2251(a),

as well as additional distribution      of child    pornography counts,     in violation of 18 U.S.C.

$22s2A(a)(2).

          32.    This agreement is limited to the United States Attorney's Office for the District of

New Mexico and does not bind any other federal, state, or local agencies or prosecuting authorities.

                                        VOLLINTARY PLEA

          33.    The defendant agrees and represents that this plea of guilty is freely and voluntarily

made and is not the result of force, threats or promises (other than the promises set forth in this

plea agreement and any addenda). There have been no representations or promises from anyone

as to   what sentence the Court will impose.

                               VIOLATION OF PLEA AGREEMENT

          34.    The defendant understands and agrees that        if   the defendant or the defendant's

attomey violates any provision of this plea agreement, the United States may declare this plea

agreement     null and void, and the defendant will thereafter be subject to prosecution for         any

criminal violation including, but not limited to, any crime(s) or offense(s) contained in or related

to the charges in this case, as well as perjury, false statement, and obstruction ofjustice, and any

other crime committed by the defendant during prosecution of this case.



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                                         SPECIAL ASSESSMENT

       35.        At the time of sentencing, the defendant will tender     a   money order or certified check

payable to the order of the United States District Court, District of New Mexico, 333 Lomas

Boulevard, NW, Albuquerque, New Mexico 87102, in the amount of $100.00 in payment of the

special penalty assessment described above.

       36.        Pursuant    to 18 U.S.C. $ 3014, if the Defendant is found to be non-indigent,           the

Defendant    will   also tender to the United States District Court, a money order or certified check

payable to the order of the United States District Court in the amount of $5,000, per relevant count

of conviction.

       37.        The parties agree that the United States          will   request the Court    to order   the

Defendant to pay an assessment of up            to $50,000, per relevant count of conviction. Any

assessment imposed shall be paid to the United States District Court by money order or certified

check payable to the order of the United States District Court.

                                      ENTIRETY OF AGREEMENT

       38.        This document and any addenda are a complete statement of the agreement in this

case and may not be altered unless done so in        writing and signed by all parties. The parties agree

and stipulate that this agreement      will be considered part of the record of defendant's guilty      plea

hearing as   if the entire   agreement had been read into the record of the proceeding. This agreement

is effective upon signature by the defendant and an Assistant United States Attomey, and upon

entry of a guilty plea by the defendant pursuant to this agreement.

       AGREED TO AND SIGNED                 11,i,   13th day   of    APTiI
                                                                                               ,2022.

                                                           FRED J. FEDERICI
                                                           United States Attorney




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                                                      T/a,ura,    fi. On-*  9
                                                      MARISA A. ONG
                                                      Assistant U.S. Attorney
                                                      200 N. Churoh Street
                                                      Las Cruces, NM 88001
                                                      (s75) s22-2304 - Tel.
                                                      (575) 522-2391 - Fax

        This agreement has been read to me in the language I understand best, and I have carefully
discussed every part of it with my attorney. I understand the terms of this agreement, and I
voluntarily agree to those terms. My attorney has advised me of my rights, of the elements of the
offense, of possible defenses, of the sentencing factors set forth in l8 U.S,C. $ 3553(a), of the
relevant sentenoing guidelines provisions, and ofthe consequences of entering into this agreement.
No promises or inducements have been given to me other than those oontained in this agreement.
No one has threatened or forced me in any way to enter into this agreement, Finally, I am satisfied
with the representation of my attorney in this matter.




        I am the attomey for SEAN PATRICK FOSLER. I have carefully discussed every part of
this agreement with my client. Further, I have futly advised my client of his rights, of the elements
of the offense, of possible defenses, of the sentencing factors set forth in 18 U.S,C. $ 3553(a), of
the relevant sentencing guidelines provisions, and of the consequences of entering into this
agreement. To my knowledge, my client's decision to enter into this agreement is an infonned
and voluntary one.



                                                        Pq^*[ R [^^-
                                                      DANIEL RUBIN
                                                      Attorney for Defendant




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